CM/ECF LIVE - U.S. District Court:oknd-Docket Report                     Page 1 of 1
 Case 4:09-cr-00043-SPF Document 459-1 Filed in USDC ND/OK on 06/13/11 Page 1 of 1


                                                                       APPEAL, LC-1, RELEASED

                                  U.S. District Court
          U.S. District Court for the Northern District of Oklahoma (Tulsa)
        ABRIDGED CRIMINAL DOCKET FOR CASE #: 4:09-cr-00043-SPF-1


Case title: USA v. Springer et al                          Date Filed: 03/10/2009
Other court case numbers: 09-5165 10th Circuit Court       Date Terminated: 04/28/2010
                           10-5101 10th Circuit


 Date Filed       #   Docket Text
 02/16/2011     438   MOTION for New Trial by Lindsey K Springer as to Lindsey Kent Springer
                      (sdc, Dpty Clk) (Entered: 02/16/2011)
 02/16/2011     439   MOTION for Hearing (Re: 438 MOTION for New Trial ) by Lindsey K
                      Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 02/16/2011)
 02/16/2011     440   BRIEF in Support of Motion (Re: 438 MOTION for New Trial ) by Lindsey K
                      Springer as to Lindsey Kent Springer (With attachments) (sdc, Dpty Clk)
                      Original Electronic Image reflects illegible pages on paper copy provided to
                      the Court (lml, Dpty Clk). (Entered: 02/17/2011)
 02/18/2011     441   RESPONSE in Opposition to Motion (Re: 438 MOTION for New Trial, 439
                      MOTION for Hearing, 437 MOTION for Leave to Exceed Page Limitation )
                      by USA as to Lindsey Kent Springer (O'Reilly, Charles) (Entered:
                      02/18/2011)
 03/14/2011     445   REPLY to Response to Motion (Re: 439 MOTION for Hearing ) by Lindsey
                      K Springer as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered: 03/15/2011)
 03/17/2011     446   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #438
                      denied, #439 denied (Re: 438 MOTION for New Trial, 439 MOTION for
                      Hearing ) as to Lindsey Kent Springer (djh, Dpty Clk) (Entered: 03/17/2011)
 03/28/2011     447   NOTICE OF APPEAL to Circuit Court (Re: 446 Order, Ruling on Motion
                      (s)/Document(s) ) as to Lindsey Kent Springer (sdc, Dpty Clk) (Entered:
                      03/29/2011)
 05/16/2011     456   MOTION for Leave to Appeal in Forma Pauperis (Re: 447 Notice of Appeal
                      to Circuit Court ) by Lindsey Kent Springer (s-srl, Dpty Clk) (Entered:
                      05/16/2011)
 05/16/2011     457   SUPPLEMENT (Re: 456 MOTION for Leave to Appeal in Forma Pauperis )
                      as to Lindsey Kent Springer (s-srl, Dpty Clk) (Entered: 05/16/2011)
 05/17/2011     458   ORDER by Judge Stephen P Friot, ruling on motion(s)/document(s): #456
                      Granted (Re: 447 Notice of Appeal to Circuit Court, 456 MOTION for Leave
                      to Appeal in Forma Pauperis ) as to Lindsey Kent Springer (pll, Dpty Clk)
                      (Entered: 05/17/2011)




https://ecf.oknd.circ10.dcn/cgi-bin/DktRpt.pl?483540126373427-L_9999_1-1                 06/13/2011
